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IN THE UNITED STATES COURT OF APPEALS

’ FOR THE ELEVENTH CIRCUIT

No. 20-10650-J

In re: SECRETARY, FLORIDA DEPARTMENT OF CORRECTIONS,

Petitioner.

On Petition for a Writ of Mandamus from the United States
District Court for the Northern District of Florida

BEFORE: JORDAN, BRANCH, and LUCK, Circuit Judges.
BY THE COURT:

Before the Court is a petition for a writ of mandamus. Respondents are directed to file an
answer to this petition within 7 days after the date of this order. See Fed. R. App. P. 21(b)(1).

If the District Judge elects to address the petition, the Court invites the District Judge to
address the petition within 7 days after the date of this order, See Fed. R. App. P. 21(b)(4). If the
District Judge elects not to address the petition, the Court requests that the District J udge provide a
letter to that effect to this Court’s Clerk of Court within 7 days after the date of this order.

The petitioners’ duty to produce in discovery information at issue in the district court’s
“Order Denying Defendants’ Motion for Entry of a Protective Order” (Doc, 94) is

TEMPORARILY STAYED pending further order of this Court.
